MANDATE
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                            UNITED STATES COURT OF APPEALS
                                       FOR THE
                                    SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     29th day of September, two thousand twenty-two.

     Before:     Reena Raggi,
                 Richard C. Wesley,
                 William J. Nardini,
                        Circuit Judges.
     ________________________________

      Estate of Eitam Henkin, et al.
                                                                    ORDER
                   Plaintiffs-Appellees,
                                                                    Docket No. 21-513
      v.

      Kuveyt Türk Katilim Bankasi A.Ş.

                Defendant-Appellant.
      ________________________________


            This appeal from an interlocutory order is before the Court on certification by the United
     States District Court for the Eastern District of New York (Cogan, Judge) under 28 U.S.C.
     § 1292(b), and on an order granting leave to appeal by a panel of this Court. In light of this Court’s
     subsequent decisions in Honickman v. BLOM Bank SAL, 6 F.4th 487 (2d Cir. 2021); Kaplan v.
     Lebanese Canadian Bank, SAL, 999 F.3d 842 (2d Cir. 2021); and Weiss v. Nat'l Westminster Bank,
     PLC., 993 F.3d 144 (2d Cir. 2021), cert. denied, 142 S. Ct. 2866 (2022), it is ordered that the
     appeal is dismissed as improvidently granted and remanded for further proceedings in the district
     court consistent with these decisions.

                                                           For the Court:

                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




MANDATE ISSUED ON 10/20/2022
